Case 1:11-cr-00003-DLI   Document 343   Filed 04/24/13   Page 1 of 10 PageID #: 4719




                                               S/ Dora L. Irizarry
Case 1:11-cr-00003-DLI   Document 343   Filed 04/24/13   Page 2 of 10 PageID #: 4720
Case 1:11-cr-00003-DLI   Document 343   Filed 04/24/13   Page 3 of 10 PageID #: 4721
Case 1:11-cr-00003-DLI   Document 343   Filed 04/24/13   Page 4 of 10 PageID #: 4722
Case 1:11-cr-00003-DLI   Document 343   Filed 04/24/13   Page 5 of 10 PageID #: 4723
Case 1:11-cr-00003-DLI   Document 343   Filed 04/24/13   Page 6 of 10 PageID #: 4724
Case 1:11-cr-00003-DLI   Document 343   Filed 04/24/13   Page 7 of 10 PageID #: 4725
Case 1:11-cr-00003-DLI   Document 343   Filed 04/24/13   Page 8 of 10 PageID #: 4726
Case 1:11-cr-00003-DLI   Document 343   Filed 04/24/13   Page 9 of 10 PageID #: 4727
Case 1:11-cr-00003-DLI   Document 343 Filed 04/24/13   Page 10 of 10 PageID #:
                                    4728
